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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

    v.
                                                      Case No. 1:23-cr-48 (ABJ)

 WILLIAM GALLMAN,

      Defendant.

   MOTION FOR ADMISSION OF ATTORNEY RYAN LEWIS BEASLEY PRO HAC VICE

         Pursuant to LCrR 44.1 (c), Defendant moves for the admission and appearance of attorney Ryan

Lewis Beasley pro hac vice in the above-entitled action. This motion is supported by the Declaration of

Ryan Lewis Beasley, filed herewith. As set forth in Mr. Beasley’s declaration, he is admitted and an active

member in good standing of the following courts and bars: the South Carolina Bar and the U.S. District

Court for the District of South Carolina. This motion is supported and signed by William M. Sullivan, Jr.,

an active and sponsoring member of the Bar of this Court.



                                                 Respectfully submitted,


                                                 /s/ William M. Sullivan, Jr.
                                                 William M. Sullivan, Jr.,
                                                 Pillsbury Winthrop Shaw Pittman LLP
                                                 1200 Seventeenth Street, NW
                                                 Washington, D.C. 20036
                                                 (202) 663-8027



This 6th day of April 2023.
